                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 KRISTEN FREDRICKS, JOSEPH V. CUFFARI,               )
 JOSEPH E. GANGLOFF, and JAMES M. READ               )
                                                     )
                                Plaintiffs,          )
                                                     )
                 v.                                  )
                                                     )               No. 1:23-cv-442 (RDA/LRV)
 COUNCIL OF THE INSPECTORS GENERAL                   )
 ON INTEGRITY AND EFFICIENCY (“CIGIE”)               )
 INTEGRITY COMMITTEE (“IC”); KEVIN H.                )
 WINTERS, Chairman, IC, in his official capacity;    )
 ROBERT P. STORCH, Vice-Chairman, IC, in his         )
 official capacity; GAIL S. ENNIS, Member, IC, in    )
 her official capacity; KIMBERLY A. HOWELL,          )
 Member, IC, in her official capacity; DALE A.       )
 CHRISTOPHER, Deputy Director for Compliance,        )
 U.S. Office of Government Ethics, in his official   )
 capacity; TOM MONHEIM, Member, IC, in his           )
 official capacity; CATHERINE S. BRUNO, Member,      )
 IC, in her official capacity; ALLISON LERNER,       )
 Inspector General, National Science Foundation, )
 Former Chair and Vice Chair, CIGIE, in her official )
 capacity,                                           )
                                                     )
                                Defendants.          )
                                                     )


                                     MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6), Defendants, through the

undersigned counsel, hereby respectfully file this motion to dismiss Plaintiffs’ Complaint. The grounds

for this motion are more fully explained in the memorandum of law that has been simultaneously filed

with the motion.
Dated: June 23, 2023   Respectfully submitted,

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                       Principal Deputy Assistant Attorney General

                       JESSICA D. ABER
 By:                   UNITED STATES ATTORNEY

                       LAUREN A. WETZLER
                       Civil Chief
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                              /s/
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